             Case 1:99-cv-02496-PLF Document 6459 Filed 10/13/21 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,              )
      Plaintiff,                       )    Civil Action No. 99-CV-2496 (PLF)
                                       )    Next scheduled court appearance:
      and                              )    January 24, 2022 10:00 am (status conf.)
                                       )
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.,                   )
      Plaintiff-Intervenors            )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
      Defendants,                      )
                                       )
              and                      )
                                       )
ITG BRANDS, LLC, et al.,               )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
____________________________________)

                                  JOINT STATUS REPORT
                           IN RESPONSE TO ORDER #113-REMAND

           In Order #113-Remand (Dkt. 6454), the Court instructed the parties1 and the national

retailer groups to meet and confer and file a joint status report explaining whether they stipulate to

admission of all expert reports in evidence, and if they do not, explaining any reasons for objecting

to this approach other than that the reports contain hearsay.




1
  The parties are the United States and the Public Health Intervenors (collectively “Plaintiffs”); Philip
Morris USA Inc., Altria Group, Inc., and R.J. Reynolds Tobacco Company (individually, as successor in
interest to Brown & Williamson Tobacco Corporation, and as successor to Lorillard Tobacco Company)
(collectively “Defendants”); and ITG Brands, LLC, Commonwealth Brands, Inc., and Commonwealth-
Altadis, Inc. (collectively “Remedies Parties”). Defendants and Remedies Parties are collectively referred
to as “Manufacturers.”
The non-party national retailer groups that (to the knowledge of the parties) intend to participate in the
hearing are the National Association of Convenience Stores (“NACS”) and the National Association of
Tobacco Outlets (“NATO”).

FileName
0901211058                                          1
             Case 1:99-cv-02496-PLF Document 6459 Filed 10/13/21 Page 2 of 5




           The Manufacturers and Retailers have additional objections to the admission of some of

Plaintiffs’ expert reports. The Manufacturers and Retailers anticipate filing motions to exclude

expert testimony by the October 30, 2021 deadline set forth in Order #109-Remand (Dkt. 6434)

for Plaintiffs’ expert Mr. Greg Brancaleone and regarding certain paragraphs of the rebuttal reports

of Plaintiffs’ experts Dr. James Spaeth and Dr. Frank Chaloupka.

           Except as provided in motions to exclude expert testimony filed by October 30, 2021, the

parties and the national retailer groups stipulate to admission of all expert reports in evidence.


Dated: October 13, 2021                               Respectfully submitted,

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FileName
0901211058                                        2
             Case 1:99-cv-02496-PLF Document 6459 Filed 10/13/21 Page 3 of 5




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FileName
0901211058                                 3
             Case 1:99-cv-02496-PLF Document 6459 Filed 10/13/21 Page 4 of 5




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FileName
0901211058                                 4
             Case 1:99-cv-02496-PLF Document 6459 Filed 10/13/21 Page 5 of 5




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FileName
0901211058                                 5
